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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI


BECK SIMMONS LLC, individually and on behalf             )
of all others similarly-situated,                        )
                                                         )
         Plaintiff,                                      )
                                                         )   Case No.: 4:14-CV-01161-SPM
                                                         )
v.
                                                         )
                                                         )
FRANCOTYP-POSTALIA, INC.,                                )
                                                         )
and                                                      )
                                                         )
JOHN DOES 1-10,                                          )
                                                         )
                                                         )
         Defendants.

                         CONSENT MOTION TO STAY BRIEFING ON
                      PLAINTIFF’S MOTION FOR CLASS CERTIFICATION

         Counsel for the parties, Plaintiff, Beck Simmons, LLC, (“Plaintiff”) and Defendant,

Francotyp-Postalia, Inc. (“Francotyp-Postalia”), hereby submit this Joint Stipulation to Stay

Class Certification briefing and stipulate as follows:

         1.      Plaintiff filed its Class Action Petition on April 30, 2014 in St. Louis County

Circuit Court, St. Louis, Missouri.

         2.      Francotyp-Postalia was served with the Class Action Petition and Motion for

Class Certification on June 2, 2014.

         3.      This case was removed to this Court on June 27, 2014.

         4.      Plaintiff did not file Doc. 9 Motion for Class Certification in Federal Court. Doc.

9 was provided to the Federal Court as part of the removal documents required to be filed by the

removing party.
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       5.       The parties have agreed that any further briefing on the Motion for Class

Certification should be stayed and the Motion for Class Certification should be held in abeyance

until after a Rule 16 conference has been held and after a case management order has been issued

setting a briefing schedule for class certification.

       6.       Neither party would be prejudiced by staying the class certification issue as this

case is in its early stages. Additionally, staying the class certification issue is for good cause and

not for the purposes of delay.

       WHEREFORE, Plaintiff Beck Simmons, LLC and Defendant Francotyp-Postalia, Inc.

jointly request that this Court enter an Order holding in abeyance Plaintiff’s state court Motion

for Class Certification until the Court holds the Rule 16 conference and issues a case

management order setting a discovery and briefing schedule on class certification issues in the

instant case.


__/s/ Max G. Margulis________                  __/s/ Theodore J. MacDonald, Jr.__
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